              Case 23-60152-can7                  Doc 1      Filed 03/29/23 Entered 03/29/23 08:52:04                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

WESTERN DISTRICT OF MISSOURI

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Import Case Works, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1222 Melton Ave.
                                  Ozark, MO 65721
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Christian                                                       Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Import Case Works, LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




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Debtor    Import Case Works, LLC                                                                          Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Import Case Works, LLC                                                     Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Import Case Works, LLC                                                                   Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 29, 2023
                                                  MM / DD / YYYY


                             X   /s/ Brian Shepard                                                        Brian Shepard
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ David E. Schroeder                                                    Date March 29, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David E. Schroeder 32724
                                 Printed name

                                 David Schroeder Law Offices, P.C.
                                 Firm name

                                 1524 East Primrose St
                                 Suite A
                                 Springfield, MO 65804
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (417) 890-1000                Email address      bk1@dschroederlaw.com

                                 32724 MO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                             Western District of Missouri
 In re       Import Case Works, LLC                                                                           Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     4,000.00
             Prior to the filing of this statement I have received                                        $                     4,000.00
             Balance Due                                                                                  $                         0.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             (a) Representation in any adversary proceedings, including but not limited to, objections to discharge and/or
             dischargeability, (b) representation with respect to an appeal to another court, and (c) representation if the
             Chapter 7 case is convereted to another Chapter.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     March 29, 2023                                                           /s/ David E. Schroeder
     Date                                                                     David E. Schroeder 32724
                                                                              Signature of Attorney
                                                                              David Schroeder Law Offices, P.C.
                                                                              1524 East Primrose St
                                                                              Suite A
                                                                              Springfield, MO 65804
                                                                              (417) 890-1000 Fax: (417) 886-8563
                                                                              bk1@dschroederlaw.com
                                                                              Name of law firm
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                         Brian Shepard
                         1222 Melton Ave.
                         Ozark MO 65721


                         Ceramic Wood Coatings
                         3101 N. 7th Street Trafficway
                         Kansas City KS 66115


                         Compi Distributors
                         2855 Haag Rd.
                         Arnold MO 63010


                         Crown Packaging
                         17854 Chesterfield Airport Rd.
                         Chesterfield MO 63005


                         Cutting Edge Countertops
                         2211 W. Division St.
                         Springfield MO 65802


                         ERC Construction Group, LLC
                         c/o Lance Miller, Esq.
                         MWSGW, PLLC
                         425 W. Capital Ave., Suite 1800
                         Little Rock AR 72201


                         Export Develpment Canada
                         c/o Receivables Control Corporation
                         7373 Kirkwood Ct., Suite 200
                         Minneapolis MN 55369


                         Headway Capital
                         175 W. Jackson Blvd., Suite 1000
                         Chicago IL 60604


                         J&W Properties, LLC
                         Wayne Scheer
                         1660 W. Skyline
                         Ozark MO 65721


                         Jesse York
                         114 Alexander Ave.
                         Branson MO 65616
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                     Lowes / Synchrony Bank
                     Attn: Bankruptcy Dept.
                     PO Box 965065
                     Orlando FL 32896


                     Missouri Employers Mutual
                     PO Box 1810
                     Columbia MO 65205-1810


                     Missouri Employers Mutual Insurance
                     P.O. Box 801768
                     Kansas City MO 64180


                     OEC Freight
                     One Cross Island Plaza
                     133-33 Brookline Blvd., Suite 306
                     Rosedale NY 11422


                     Ozark Millworks, LLC
                     4173 W. Farm Road 172
                     Brookline MO 65802


                     Ozark Packaging
                     1005 Gerald St.
                     Nixa MO 65714


                     Penmac
                     447 S. Ave.
                     Springfield MO 65806


                     Ross Construction Group, LLC
                     c/o Norman Rouse & Mark Peron
                     Collins, Webster & Rouse, PC
                     5957 E. 20th St.
                     Joplin MO 64801


                     Sage Electrical
                     PO Box 1316
                     Nixa MO 65714


                     Schaller Hardwoods
                     PO Box 1205
                     Poplar Bluff MO 63902
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                     Signature Interior Expressions
                     c/o Checkett, Pauly, Bay & Morgan
                     517 S. Main St.
                     PO Box 409
                     Carthage MO 64836


                     Snyder Construction Group, LLC
                     c/o Christopher Weiss
                     Spencer Fane, LLP
                     2144 E. Republic Rd., Suite B300
                     Springfield MO 65804


                     State Auto Mutual Insurance Company
                     c/o Leviton Law Firm, Ltd
                     One Pierce Place, Suite 725W
                     Itasca IL 60143


                     Summit Safety Group
                     PO Box 3029
                     Springfield MO 65808


                     Teri Shepard
                     1222 Melton Ave.
                     Ozark MO 65721


                     Terri Shepard
                     1222 Melton Ave.
                     Ozark MO 65721


                     TLC Properties
                     c/o O'Reilly & Preston
                     532 E. State Hwy. CC, Suite 1
                     Nixa MO 65714


                     Transland
                     PO Box 519
                     Strafford MO 65757


                     ULine
                     PO Box 88741
                     Chicago IL 60680
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                     US Bank
                     c/o Benjamin Hutnick
                     Berman & Rabin, P.A.
                     PO Box 24327
                     Overland Park KS 66283


                     WEX, Inc.
                     c/o Greenberg, Grant & Richards, Inc.
                     5858 Westheimer Rd, Suite 500
                     PO Box 571811
                     Houston TX 77257
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                                     United States Bankruptcy Court
                                          Western District of Missouri
In re   Import Case Works, LLC                                              Case No.
                                                        Debtor(s)           Chapter    7



                                 VERIFICATION OF MAILING MATRIX
               The above-named Debtor(s) hereby verifies that the attached list of creditors is

        true and correct to the best of my knowledge and includes the name and address of my

        ex-spouse (if any).




Date:   March 29, 2023                       /s/ Brian Shepard
                                             Brian Shepard/President
                                             Signer/Title
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Fill in this information to identify the case:

Debtor name         Import Case Works, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       March 29, 2023                  X /s/ Brian Shepard
                                                           Signature of individual signing on behalf of debtor

                                                            Brian Shepard
                                                            Printed name

                                                            President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                                  Document     Page 13 of 27
 Fill in this information to identify the case:

 Debtor name            Import Case Works, LLC

 United States Bankruptcy Court for the:                       WESTERN DISTRICT OF MISSOURI

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           140,550.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           140,550.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $            58,380.88


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        1,481,491.18


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,539,872.06




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name      Import Case Works, LLC

United States Bankruptcy Court for the:    WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                        Check if this is an
                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
   All cash or cash equivalents owned or controlled by the debtor                                                       Current value of
                                                                                                                        debtor's interest

Part 2:      Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.


Part 3:      Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.


Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
Official Form 206A/B                             Schedule A/B Assets - Real and Personal Property                                             page 1
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Debtor        Import Case Works, LLC                                                    Case number (If known)
              Name


      Yes Fill in the information below.


Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.


Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

           General description                                        Net book value of         Valuation method used   Current value of
           Include year, make, model, and identification numbers      debtor's interest         for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                              (Where available)

47.        Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.        Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

49.        Aircraft and accessories


50.        Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Honage Edge Bander: $45,975.00
           Makor Paint Booth - Start One: $94,575.00                                  $0.00                                      $140,550.00




51.        Total of Part 8.                                                                                                  $140,550.00
           Add lines 47 through 50. Copy the total to line 87.

52.        Is a depreciation schedule available for any of the property listed in Part 8?
              No
              Yes

53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor       Import Case Works, LLC                                                        Case number (If known)
             Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                            page 3
           Case 23-60152-can7                             Doc 1          Filed 03/29/23 Entered 03/29/23 08:52:04                                         Desc Main
                                                                        Document     Page 17 of 27
Debtor          Import Case Works, LLC                                                                              Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                     $0.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $140,550.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $140,550.00           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $140,550.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 4
           Case 23-60152-can7                        Doc 1         Filed 03/29/23 Entered 03/29/23 08:52:04                                 Desc Main
                                                                  Document     Page 18 of 27
Fill in this information to identify the case:

Debtor name          Import Case Works, LLC

United States Bankruptcy Court for the:            WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                            amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                  Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                              that supports this
                                                                                                                  Do not deduct the value     claim
                                                                                                                  of collateral.
2.1    Headway Capital                              Describe debtor's property that is subject to a lien                   $58,380.88                      $0.00
       Creditor's Name                              All business assets
       175 W. Jackson Blvd., Suite
       1000
       Chicago, IL 60604
       Creditor's mailing address                   Describe the lien
                                                    Line of Credit and Security Agreement
                                                    Is the creditor an insider or related party?
                                                       No
       Creditor's email address, if known               Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                          No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       2412
       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
           No                                          Contingent
           Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative
       priority.                                       Disputed




3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.           $58,380.88

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                              you enter the related creditor?   account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
           Case 23-60152-can7                      Doc 1        Filed 03/29/23 Entered 03/29/23 08:52:04                                          Desc Main
                                                               Document     Page 19 of 27
Fill in this information to identify the case:

Debtor name        Import Case Works, LLC

United States Bankruptcy Court for the:         WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $4,440.29
          Ceramic Wood Coatings                                                Contingent
          3101 N. 7th Street Trafficway
                                                                               Unliquidated
          Kansas City, KS 66115
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $48,477.95
          Compi Distributors                                                   Contingent
          2855 Haag Rd.
                                                                               Unliquidated
          Arnold, MO 63010
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,580.41
          Crown Packaging                                                      Contingent
          17854 Chesterfield Airport Rd.
                                                                               Unliquidated
          Chesterfield, MO 63005
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $438.89
          Cutting Edge Countertops                                             Contingent
          2211 W. Division St.
                                                                               Unliquidated
          Springfield, MO 65802
                                                                               Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                        page 1 of 5
                                                                                                          54795
          Case 23-60152-can7                  Doc 1         Filed 03/29/23 Entered 03/29/23 08:52:04                                     Desc Main
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Debtor      Import Case Works, LLC                                                          Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $326,112.80
         ERC Construction Group, LLC
         c/o Lance Miller, Esq.                                       Contingent
         MWSGW, PLLC                                                  Unliquidated
         425 W. Capital Ave., Suite 1800                              Disputed
         Little Rock, AR 72201
                                                                   Basis for the claim:    Judgment
         Date(s) debt was incurred 8/12/22
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,673.31
         Export Develpment Canada                                     Contingent
         c/o Receivables Control Corporation                          Unliquidated
         7373 Kirkwood Ct., Suite 200                                 Disputed
         Minneapolis, MN 55369
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   0848                    Is the claim subject to offset?     No       Yes


3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $51,000.00
         J&W Properties, LLC                                          Contingent
         Wayne Scheer
                                                                      Unliquidated
         1660 W. Skyline
         Ozark, MO 65721                                              Disputed

         Date(s) debt was incurred                                 Basis for the claim:

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $11,821.93
         Jesse York                                                   Contingent
         114 Alexander Ave.
                                                                      Unliquidated
         Branson, MO 65616
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,124.29
         Lowes / Synchrony Bank                                       Contingent
         Attn: Bankruptcy Dept.
                                                                      Unliquidated
         PO Box 965065
         Orlando, FL 32896                                            Disputed

         Date(s) debt was incurred                                 Basis for the claim:

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $10,468.71
         Missouri Employers Mutual                                    Contingent
         PO Box 1810                                                  Unliquidated
         Columbia, MO 65205-1810                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   2829
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $337.00
         Missouri Employers Mutual Insurance                          Contingent
         P.O. Box 801768                                              Unliquidated
         Kansas City, MO 64180                                        Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number   7319
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 2 of 5
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Debtor      Import Case Works, LLC                                                          Case number (if known)
            Name

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,550.00
         OEC Freight                                                  Contingent
         One Cross Island Plaza
                                                                      Unliquidated
         133-33 Brookline Blvd., Suite 306
         Rosedale, NY 11422                                           Disputed

         Date(s) debt was incurred                                 Basis for the claim:

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $652.84
         Ozark Packaging                                              Contingent
         1005 Gerald St.
                                                                      Unliquidated
         Nixa, MO 65714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $2,267.45
         Penmac                                                       Contingent
         447 S. Ave.
                                                                      Unliquidated
         Springfield, MO 65806
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.15     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $457,673.56
         Ross Construction Group, LLC
         c/o Norman Rouse & Mark Peron                                Contingent
         Collins, Webster & Rouse, PC                                 Unliquidated
         5957 E. 20th St.                                             Disputed
         Joplin, MO 64801
                                                                   Basis for the claim:    Lawsuit
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.16     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $947.14
         Sage Electrical                                              Contingent
         PO Box 1316
                                                                      Unliquidated
         Nixa, MO 65714
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.17     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $26,085.58
         Schaller Hardwoods                                           Contingent
         PO Box 1205
                                                                      Unliquidated
         Poplar Bluff, MO 63902
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.18     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $65,488.00
         Signature Interior Expressions
         c/o Checkett, Pauly, Bay & Morgan                            Contingent
         517 S. Main St.                                              Unliquidated
         PO Box 409                                                   Disputed
         Carthage, MO 64836
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 3 of 5
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Debtor      Import Case Works, LLC                                                          Case number (if known)
            Name

3.19     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.        $432,109.63
         Snyder Construction Group, LLC
         c/o Christopher Weiss                                        Contingent
         Spencer Fane, LLP                                            Unliquidated
         2144 E. Republic Rd., Suite B300                             Disputed
         Springfield, MO 65804
                                                                   Basis for the claim:    Judgment
         Date(s) debt was incurred 2/22/23
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.20     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $263.32
         State Auto Mutual Insurance Company                          Contingent
         c/o Leviton Law Firm, Ltd                                    Unliquidated
         One Pierce Place, Suite 725W                                 Disputed
         Itasca, IL 60143
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number   7373                    Is the claim subject to offset?     No       Yes


3.21     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,150.00
         Summit Safety Group                                          Contingent
         PO Box 3029
                                                                      Unliquidated
         Springfield, MO 65808
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.22     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $13,774.98
         TLC Properties                                               Contingent
         c/o O'Reilly & Preston
                                                                      Unliquidated
         532 E. State Hwy. CC, Suite 1
         Nixa, MO 65714                                               Disputed

         Date(s) debt was incurred                                 Basis for the claim:

         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes

3.23     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,293.70
         Transland                                                    Contingent
         PO Box 519
                                                                      Unliquidated
         Strafford, MO 65757
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.24     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $1,683.87
         ULine                                                        Contingent
         PO Box 88741
                                                                      Unliquidated
         Chicago, IL 60680
                                                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.25     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $4,075.53
         WEX, Inc.
         c/o Greenberg, Grant & Richards, Inc.                        Contingent
         5858 Westheimer Rd, Suite 500                                Unliquidated
         PO Box 571811                                                Disputed
         Houston, TX 77257
                                                                   Basis for the claim:
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 5
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Debtor      Import Case Works, LLC                                                                 Case number (if known)
            Name



Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                           0.00
5b. Total claims from Part 2                                                                         5b.   +   $                   1,481,491.18

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                      1,481,491.18




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 5 of 5
          Case 23-60152-can7                  Doc 1       Filed 03/29/23 Entered 03/29/23 08:52:04                                  Desc Main
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Fill in this information to identify the case:

Debtor name       Import Case Works, LLC

United States Bankruptcy Court for the:     WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Management
           lease is for and the nature of        Agreement / Letter of
           the debtor's interest                 Intent / Asset Purchase
                                                 Agreement providing
                                                 services and materials
                                                 to Ozark Millworks in
                                                 exchange for purchase
                                                 of certain assets and
                                                 assumption of certain
                                                 contracts and
                                                 advancement of funds.
               State the term remaining
                                                                                    Ozark Millworks, LLC
           List the contract number of any                                          4173 W. Farm Road 172
                 government contract                                                Brookline, MO 65802


2.2.       State what the contract or            Makor State-1
           lease is for and the nature of        Pressurized Spray
           the debtor's interest                 System/Paint Booth
                                                 and Honage Edge
                                                 Bander                             US Bank
               State the term remaining                                             c/o Benjamin Hutnick
                                                                                    Berman & Rabin, P.A.
           List the contract number of any                                          PO Box 24327
                 government contract                                                Overland Park, KS 66283




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Import Case Works, LLC

United States Bankruptcy Court for the:   WESTERN DISTRICT OF MISSOURI

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Brian Shepard               1222 Melton Ave.                                          J&W Properties, LLC                D
                                      Ozark, MO 65721                                                                              E/F       3.7
                                                                                                                                   G




   2.2    Brian Shepard               1222 Melton Ave.                                          ERC Construction                   D
                                      Ozark, MO 65721                                           Group, LLC                         E/F       3.5
                                                                                                                                   G




   2.3    Brian Shepard               1222 Melton Ave.                                          Headway Capital                    D   2.1
                                      Ozark, MO 65721                                                                              E/F
                                                                                                                                   G




   2.4    Brian Shepard               1222 Melton Ave.                                          Snyder Construction                D
                                      Ozark, MO 65721                                           Group, LLC                         E/F       3.19
                                                                                                                                   G




   2.5    Brian Shepard               1222 Melton Ave.                                          Ross Construction                  D
                                      Ozark, MO 65721                                           Group, LLC                         E/F       3.15
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Import Case Works, LLC                                                  Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor



  2.6     Teri Shepard             1222 Melton Ave.                                    J&W Properties, LLC                D
                                   Ozark, MO 65721                                                                        E/F   3.7
                                                                                                                          G




  2.7     Teri Shepard             1222 Melton Ave.                                    WEX, Inc.                          D
                                   Ozark, MO 65721                                                                        E/F   3.25
                                                                                                                          G




  2.8     Brian Shepard            1222 Melton Ave.                                    US Bank                            D
                                   Ozark, MO 65721                                                                        E/F
                                                                                                                          G   2.2




  2.9     Terri Shepard            1222 Melton Ave.                                    US Bank                            D
                                   Ozark, MO 65721                                                                        E/F
                                                                                                                          G   2.2




Official Form 206H                                              Schedule H: Your Codebtors                                      Page 2 of 2
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                                         United States Bankruptcy Court
                                              Western District of Missouri
 In re   Import Case Works, LLC                                                     Case No.
                                                            Debtor(s)               Chapter     7




                            CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Import Case Works, LLC in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 29, 2023                                 /s/ David E. Schroeder
Date                                           David E. Schroeder 32724
                                               Signature of Attorney or Litigant
                                               Counsel for Import Case Works, LLC
                                               David Schroeder Law Offices, P.C.
                                               1524 East Primrose St
                                               Suite A
                                               Springfield, MO 65804
                                               (417) 890-1000 Fax:(417) 886-8563
                                               bk1@dschroederlaw.com
